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                                Attachment A

Contents:
            1. Stock Purchase Agreement, dated as of December 1, 2022 among ASSA
               ABLOY Inc., Fortune Brands Innovations, Inc. (f/k/a Home & Security, Inc.,)
               (“Fortune”) and solely for purposes of Section 13.20 thereof, ASSA ABLOY
               AB;
            2. Closing Implementation Letter, dated as of April 13, 2023 among ASSA
               ABLOY AB, ASSA ABLOY Inc., and Fortune;
            3. Software License Agreement to be entered into as of the Divestiture Date
               between August Home, Inc. and ASSA ABLOY Inc.;
            4. Patent License Agreement to be entered into as of the Divestiture Date
               between each of August Home, Inc. and ASSA ABLOY Residential Group,
               Inc., on the one hand, and ASSA ABLOY Inc. or their designated Affiliates,
               on the other hand;
            5. Patent License Back Agreement to be entered into as of the Divestiture Date
               between each of August Home, Inc. and ASSA ABLOY Residential Group,
               Inc., on the one hand, and ASSA ABLOY Inc. or their designated Affiliates,
               on the other hand;
            6. Intellectual Property Assignment Agreement to be entered into as of the
               Divestiture Date between Fortune or its Affiliates, on the one hand, and ASSA
               ABLOY Inc. or its designated Affiliates, on the other hand;
            7. Transition Services Agreement to be entered into as of the Divestiture Date
               between Fortune and ASSA ABLOY Inc. (or any Affiliates thereof); and
            8. Supply Agreement to be entered into as of the Divestiture Date between
               Fortune and ASSA ABLOY Inc., or their designated Affiliates.
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      1. Stock Purchase Agreement, dated as of December 1, 2022 among ASSA
         ABLOY Inc., Fortune Brands Innovations, Inc. (f/k/a Home & Security, Inc.,)
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         AB.
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       2. Closing Implementation Letter, dated as of April 13, 2023 among ASSA
          ABLOY AB, ASSA ABLOY Inc., and Fortune.
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       3. Software License Agreement to be entered into as of the Divestiture Date
          between August Home, Inc. and ASSA ABLOY Inc.
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       4. Patent License Agreement to be entered into as of the Divestiture Date
          between each of August Home, Inc. and ASSA ABLOY Residential Group,
          Inc., on the one hand, and ASSA ABLOY Inc. or their designated Affiliates,
          on the other hand.
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       5. Patent License Back Agreement to be entered into as of the Divestiture Date
          between each of August Home, Inc. and ASSA ABLOY Residential Group,
          Inc., on the one hand, and ASSA ABLOY Inc. or their designated Affiliates,
          on the other hand.
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       6. Intellectual Property Assignment Agreement to be entered into as of the
          Divestiture Date between Fortune or its Affiliates, on the one hand, and ASSA
          ABLOY Inc. or its designated Affiliates, on the other hand.
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       7. Transition Services Agreement to be entered into as of the Divestiture Date
          between Fortune and ASSA ABLOY Inc. (or any Affiliates thereof).
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       8. Supply Agreement to be entered into as of the Divestiture Date between
          Fortune and ASSA ABLOY Inc., or their designated Affiliates.
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